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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 BEAU KELLEY, Individually and On          §
 Behalf of All Others Similarly            §
 Situated,                                 §
                                           §
              Plaintiff,                   §            No. ______________
                                           §
 v.                                        §
                                           §
 ALPINE SITE SERVICES, INC.,               §
                                           §
              Defendant.                   §

                     PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff Beau Kelly (referred to as “Plaintiff” or “Kelley”)

bringing this collective action and lawsuit on behalf of himself and all other similarly

situated employees to recover unpaid overtime wages from Defendant Alpine Site

Services, Inc. (referred to as “Defendant” or “Alpine”). In support thereof, he would

respectfully show the Court as follows:

                                   I. Nature of Suit

       1.    Kelley’s claims arise under the Fair Labor Standards Act of 1938, 29

U.S.C. §§ 201-219 (“FLSA”) and under the following state wage and hour laws: (1) the

Ohio Minimum Fair Wage Standards Act, Ohio Rev. Code §§ 4111.01-4111.99
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(“OMFWSA”); (2) the Ohio Prompt Pay Act, Ohio Rev. Code § 4113.15 (“OPPA”);

(3) the New Jersey Wage & Hour Law, N.J. Stat. §§ 34:11-56a-34:11-56a38

(“NJWHL”); (4) the Pennsylvania Minimum Wage Act of 1968, 43 Pa. Stat. §§

333.101-333.115 (“PMWA”) and (5) the Pennsylvania Wage Payment and Collection

Law, 43 Pa. Stat. §§ 260.1-260.12 (“PWPCL”).

       2.      The FLSA was enacted to eliminate “labor conditions detrimental to the

maintenance of the minimum standard of living necessary for health, efficiency and

general well-being of workers … .” 29 U.S.C. § 202(a). To achieve its humanitarian

goals, the FLSA defines appropriate pay deductions and sets overtime pay, minimum

wage, and record keeping requirements for covered employers. 29 U.S.C. §§ 206(a),

207(a), 211(c).

       3.      The OMFWSA and the OPPA set minimum wage and recordkeeping

requirements for Ohio employers, govern the payment of wages to Ohio employees and

limit the deductions from an employee’s wages. See generally, Ohio Rev. Code §§

4111.01-4111.99, 4113.15.

       4.      The NJWHL sets minimum wage and recordkeeping requirements for

New Jersey employers, governs the payment of wages to New Jersey employees and

limits the deductions from an employee’s wages. See generally, N.J. Stat. §§ 34:11-56a-

34:11-56a38.



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      5.     The PMWA sets minimum wage and recordkeeping requirements for

Pennsylvania employers. See generally, 43 Pa. Stat. §§ 333.101-333.115.

      6.     The PWPCL governs the payment of wages to Pennsylvania employees

and limits the deductions from an employee’s wages. See generally, 43 Pa. Stat. §§ 260.1-

260.12.

      7.     Alpine violated the FLSA by employing Kelley and other similarly

situated nonexempt employees “for a workweek longer than forty hours [but refusing

to compensate them] for [their] employment in excess of [forty] hours … at a rate not

less than one and one-half times the regular rate at which [they are or were] employed.”

29 U.S.C. § 207(a)(1).

      8.     Alpine violated the FLSA by failing to maintain accurate time and pay

records for Kelley and other similarly situated nonexempt employees as required by 29

U.S.C. § 211(c) and 29 C.F.R. pt. 516.

      9.     Alpine violated the FSLA by retaliating against Kelley following his

complaints about not being paid his overtime. 29 U.S.C. § 215(a)(3).

      10.    Kelley brings this collective action under 29 U.S.C. § 216(b) on behalf of

himself and all other similarly situated employees (defined below) to recover unpaid

overtime wages under the FLSA.




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        11.     Alpine violated the OMFWSA and the OPPA by employing Kelley and

other similarly situated nonexempt employees “at a wage rate of [less than] one and

one-half times [their] wage rate[s] for hours worked in excess of forty hours in one

workweek.” Ohio Rev. Code § 4111.03(A).

        12.     Alpine violated the NJWHL by employing Kelley and other similarly

situated nonexempt employees at less than “1 1/2 times [their] regular hourly wage[s]

for each hour of working time in excess of 40 hours in any week[.]” N.J. Stat. §§ 34:11-

56a4.

        13.     Alpine violated the PMWA and the PWPCL by employing Kelley and

other similarly situated nonexempt employees at less than “one and one-half times

[their] regular rate[s]” for the hours he worked in excess of forty per week. 43 Pa. Stat.

§ 333.104(c).

        14.     Kelley (sometimes referred to as the “Ohio Class Representative” or the

“New Jersey Class Representative” or the “Pennsylvania Class Representative”) brings

this class action under Fed. R. Civ. P. 23 on behalf of himself and all other similarly

situated employees (defined below) to recover unpaid overtime compensation and

related penalties and damages under the OMFWSA, the OPPA, the NJWHL, the

PMWA and the PWPCL.




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                                II. Jurisdiction & Venue

         15.   The Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331 and

29 U.S.C. § 216(b) because it arises under the FLSA, a federal statute.

         16.   The Court has supplemental jurisdiction over Kelley’s OMFWSA,

OPPA, NJWHL, PMWA and PWPCL claims pursuant to 28 U.S.C. § 1367(a) because

they so related to the FLSA claims that they form part of the same case or controversy

under Article III of the United States Constitution.

         17.   Venue is proper in this district and division pursuant to 28 U.S.C. §

1391(b)(1) because Alpine resides in the Houston Division of the Southern District of

Texas.

                                       III. Parties

         18.   Beau Kelley is an individual who resides in Littleton, Colorado and who

was employed by Alpine during the last three years.

         19.   Alpine Site Services, Inc. is a Colorado corporation that may be served

with process by serving its registered agent:

                            National Registered Agents, Inc.
                             1999 Bryan Street, Suite 900
                                  Dallas, Texas 75201

Alternatively, if the registered agent of Alpine Site Services, Inc. cannot with

reasonable diligence be found at the company’s registered office, Alpine Site Services,



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Inc. may be served with process by serving the Texas Secretary of State pursuant to

Tex. Bus. Org. Code § 5.251 and Tex. Civ. Prac. & Rem. Code § 17.026.

      20.    Whenever it is alleged that Alpine committed any act or omission, it is

meant that the company’s officers, directors, vice-principals, agents, servants or

employees committed such act or omission and that at the time such act or omission

was committed, it was done with the full authorization, ratification or approval of

Alpine or was done in the routine and normal course and scope of employment of

Alpine’s officers, directors, vice-principals, agents, servants or employees.

                                        IV. Facts

      21.    According to its website, Alpine tests and installs engineered screwpiles

for commercial construction projects, including power stations, oil and gas refineries

and natural gas plants.        See generally, Alpine Site Services—About Alpine,

http://alpinesites.com/alpine-site-services (last visited Apr. 27, 2018).

      22.    Alpine does business in the territorial jurisdiction of this Court.

      23.    Alpine employed Kelley as a welder during the last three years.

      24.    During Kelley’s employment with Alpine, he worked in Texas, Louisiana,

Ohio, New Jersey and Pennsylvania.

      25.    During Kelley’s employment with Alpine, he was engaged in commerce

or in the production of goods for commerce.



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      26.    During Kelley’s employment with Alpine, the company was an enterprise

engaged in commerce because it (1) had employees engaged in commerce or in the

production of goods for commerce or had employees handling, selling or otherwise

working on goods or materials that had been moved in or produced for commerce by

others and (2) had an annual gross volume of sales made or business done of at least

$500,000.

      27.    Alpine paid Kelley on an hourly basis.

      28.    During Kelley’s employment with Alpine, he regularly worked in excess

of forty hours per week.

      29.    Alpine, though, did not pay Kelley for all of the hours that he worked, and

it did not count all of the hours that Kelley worked towards its obligation to pay

overtime.

      30.    Alpine knew or reasonably should have known that Kelley worked in

excess of forty hours per week.

      31.    Alpine did not pay Kelley overtime as required by 29 U.S.C. § 207(a)(1)

(and, when applicable, the OMFWSA, the OPPA, the NJWHL, the PMWA and/or

PWPCL) for the hours he worked in excess of forty per week.

      32.    Instead, Alpine failed to pay for all of the hours that Kelley worked and

to count all of the hours that Kelley worked towards its obligation to pay overtime.



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       33.    In other words, Alpine paid Kelley for fewer hours—both regular hours

and overtime hours—than he actually worked.

       34.     Additionally, when it did pay overtime, Alpine paid Kelley at his normal

hourly rate (i.e., his straight-time rate).

       35.    Alpine knew or reasonably should have known that Kelley was not exempt

from the overtime requirements of the FLSA (and, when applicable, the OMFWSA,

the OPPA, the NJWHL, the PMWA and/or PWPCL).

       36.    Alpine failed to maintain accurate time and pay records for Kelley and

other similarly situated nonexempt employees as required by 29 U.S.C. § 211(c) (and,

when applicable, the OMFWSA, the OPPA, the NJWHL, the PMWA and/or

PWPCL).

       37.    Alpine knew or showed a reckless disregard for whether its pay practices

violated the FLSA (and, when applicable, the OMFWSA, the OPPA, the NJWHL, the

PMWA and/or PWPCL).

       38.    Alpine is liable to Kelley for his unpaid overtime wages, related damages

and penalties, and attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b) (and, when

applicable, the OMFWSA, the OPPA, the NJWHL, the PMWA and/or PWPCL).

       39.     All laborers, machine operators and welders employed by Alpine are

similarly situated to Plaintiff because they (1) have similar job duties; (2) regularly work



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in excess of forty hours per week; (3) are not paid overtime for the hours they worked

in excess of forty per week as required by 29 U.S.C. § 207(a)(1) (and, when applicable,

the OMFWSA, the OPPA, the NJWHL, the PMWA and/or PWPCL) and (4) are

entitled to recover their unpaid overtime wages, related damages and penalties, and

attorneys’ fees and costs from Alpine pursuant to 29 U.S.C. § 216(b) (and, when

applicable, the OMFWSA, the OPPA, the NJWHL, the PMWA and/or PWPCL).

                                   V. Count One—
                              Failure To Pay Overtime
                          in Violation of 29 U.S.C. § 207(a)

      40.    Kelley adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      41.    During Kelley’s employment with Alpine, he was a nonexempt employee.

      42.    As a nonexempt employee, Alpine was legally obligated to pay Kelley “at

a rate not less than one and one-half times the regular rate[s] at which he [was]

employed[]” for the hours that he worked over forty in a workweek. 29 U.S.C. §

207(a)(1).

      43.    Alpine failed to pay Kelley for the hours he worked over forty in a

workweek at one and one-half times his regular rates.

      44.    Instead, Alpine failed to pay for all of the hours that Kelley worked and

to count all of the hours that Kelley worked towards its obligation to pay overtime.



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       45.    In other words, Alpine paid Kelley for fewer hours—both regular hours

and overtime hours—than he actually worked.

       46.    Additionally, when it did pay overtime, Alpine paid Kelley at his normal

hourly rate (i.e., his straight-time rate).

       47.    If Alpine classified Kelley as exempt from the overtime requirements of

the FLSA, he was misclassified because no exemption excuses the company’s

noncompliance with the overtime requirements of the FLSA.

       48.    Alpine knew or showed a reckless disregard for whether its pay practices

violated the overtime requirements of the FLSA; in other words, Alpine willfully

violated the overtime requirements of the FLSA.

                                   VI. Count Two—
                         Failure To Maintain Accurate Records
                           in Violation of 29 U.S.C. § 211(c)

       49.    Kelley adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

       50.    The FLSA requires employers to keep accurate records of hours worked

by and wages paid to nonexempt employees. 29 U.S.C. § 211(c); 29 C.F.R. pt. 516.

       51.    In addition to the pay violations of the FLSA described above, Alpine also

failed to keep proper time and pay records as required by the FLSA.




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    VII. Count Three—Collective Action Allegations Under 29 U.S.C. § 216(b)
                         for Violations of the FLSA

      52.    Kelley adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      53.    On information and belief, other employees have been victimized by

Alpine’s violations of the FLSA identified above.

      54.    These employees are similarly situated to Kelley because, during the

relevant time period, they held similar positions, were compensated in a similar manner

and were denied overtime wages at one and one-half times their regular rates for hours

worked over forty in a workweek.

      55.    Alpine’s policy or practice of failing to pay overtime compensation is a

generally applicable policy or practice and does not depend on the personal

circumstances of the putative class members.

      56.    Since, on information and belief, Kelley’s experiences are typical of the

experiences of the putative class members, collective action treatment is appropriate.

      57.    All employees of Alpine, regardless of their rates of pay, who were paid at

a rate less than one and one-half times the regular rates at which they were employed

for the hours that they worked over forty in a workweek are similarly situated.

Although the issue of damages may be individual in character, there is no detraction

from the common nucleus of liability facts. The Class is therefore properly defined as:


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               All laborers, machine operators and welders employed by
               Alpine during the last three years.

         58.   Alpine is liable to Kelley and the other laborers, machine operators and

welders for the difference between what it actually paid them and what it was legally

obligated to pay them.

         59.   Because Alpine knew and/or showed a reckless disregard for whether its

pay practices violated the FLSA, the company owes Kelley and the other laborers,

machine operators and welders their unpaid overtime wages for at least the last three

years.

         60.   Alpine is liable to Kelley and the other laborers, machine operators and

welders in an amount equal to their unpaid overtime wages as liquidated damages.

         61.   Alpine is liable to Kelley and the other laborers, machine operators and

welders for their reasonable attorneys’ fees and costs.

         62.   Kelley has retained counsel who are well versed in FLSA collective action

litigation and who are prepared to litigate this matter vigorously on behalf of them and

all other putative class members.

                                  VIII. Count Four—
                                Failure to Pay Overtime
                     in Violation of the OMFWSA and the OPPA

         63.   Kelley adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).


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       64.    During Kelley’s employment with Alpine, he performed at least some

work for the company in the State of Ohio.

       65.    During Kelley’s employment with Alpine, he was a nonexempt employee.

       66.    As a nonexempt employee, Alpine was legally obligated to pay Kelley “at

a wage rate of one and one-half times the employee’s wage rate for hours worked in

excess of forty hours in one workweek.” Ohio Rev. Code § 4111.03(A).

       67.    Alpine failed to pay Kelley for the hours he worked over forty in a

workweek at one and one-half times his wage rate.

       68.    Instead, Alpine failed to pay for all of the hours that Kelley worked and

to count all of the hours that Kelley worked towards its obligation to pay overtime.

       69.    In other words, Alpine paid Kelley for fewer hours—both regular hours

and overtime hours—than he actually worked.

       70.    Additionally, when it did pay overtime, Alpine paid Kelley at his normal

hourly rate (i.e., his straight-time rate).

       71.    If Alpine classified Kelley as exempt from the overtime requirements of

the OMFWSA, he was misclassified because no exemption excuses the company’s

noncompliance with the overtime requirements of the OMFWSA.




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      72.    Alpine knew or showed a reckless disregard for whether its pay practices

violated the overtime requirements of the OMFWSA and the OPPA; in other words,

Alpine willfully violated the overtime requirements of the OMFWSA and the OPPA.

                                  IX. Count Five—
                               Failure to Pay Overtime
                             in Violation of the NJWHL

      73.    Kelley adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      74.    During Kelley’s employment with Alpine, he performed at least some

work for the company in the State of New Jersey.

      75.    During Kelley’s employment with Alpine, he was a nonexempt employee.

      76.    As a nonexempt employee, Alpine was legally obligated to pay Kelley at

“1 1/2 times [his] regular hourly wage for each hour of working time in excess of 40

hours in any week[.]” N.J. Stat. §§ 34:11-56a4.

      77.    Alpine failed to pay Kelley for the hours he worked over forty in a

workweek at one and one-half times his regular hourly wage.

      78.    Instead, Alpine failed to pay for all of the hours that Kelley worked and

to count all of the hours that Kelley worked towards its obligation to pay overtime.

      79.    In other words, Alpine paid Kelley for fewer hours—both regular hours

and overtime hours—than he actually worked.



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       80.    Additionally, when it did pay overtime, Alpine paid Kelley at his normal

hourly rate (i.e., his straight-time rate).

       81.    If Alpine classified Kelley as exempt from the overtime requirements of

the NJWHL, he was misclassified because no exemption excuses the company’s

noncompliance with the overtime requirements of the NJWHL.

       82.    Alpine knew or showed a reckless disregard for whether its pay practices

violated the overtime requirements of the NJWHL; in other words, Alpine willfully

violated the overtime requirements of the NJWHL.

                                     X. Count Six—
                                 Failure to Pay Overtime
                      in Violation of the PMWA and the PWPCL

       83.    Kelley adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

       84.    During Kelley’s employment with Alpine, he performed at least some

work for the company in the State of Pennsylvania.

       85.    During Kelley’s employment with Alpine, he was a nonexempt employee.

       86.    As a nonexempt employee, Alpine was legally obligated to pay Kelley at

“one and one-half times [his] regular rate” for the hours he worked in excess of forty

per week. 43 Pa. Stat. § 333.104(c).




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       87.    Alpine failed to pay Kelley for the hours he worked over forty in a

workweek at one and one-half times his regular rate.

       88.    Instead, Alpine failed to pay for all of the hours that Kelley worked and

to count all of the hours that Kelley worked towards its obligation to pay overtime.

       89.    In other words, Alpine paid Kelley for fewer hours—both regular hours

and overtime hours—than he actually worked.

       90.    Additionally, when it did pay overtime, Alpine paid Kelley at his normal

hourly rate (i.e., his straight-time rate).

       91.    If Alpine classified Kelley as exempt from the overtime requirements of

the PMWA, he was misclassified because no exemption excuses the company’s

noncompliance with the overtime requirements of the PMWA.

       92.    Alpine knew or showed a reckless disregard for whether its pay practices

violated the overtime requirements of the PMWA and the PWPCL; in other words,

Alpine willfully violated the overtime requirements of the PMWA and the PWPCL.

                                     XI. Count Seven—
                     Class Action Allegations Under Fed. R. Civ. P. 23
                 for Violations of the OMFWSA, the OPPA, the NJWHL,
                                the PMWA and the PWPCL

       93.    Kelley adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).




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      94.    Kelley, the Ohio Class Representative, brings Count Four against Alpine

under Fed. R. Civ. P. 23 on behalf of the following class of persons:

             All laborers, machine operators and welders employed by
             Alpine in the State of Ohio during the last three years
             (referred to as the “Ohio Class”).

      95.    Kelley, the New Jersey Class Representative, brings Count Five against

Alpine under Fed. R. Civ. P. 23 on behalf of the following class of persons:

             All laborers, machine operators and welders employed by
             Alpine in the State of New Jersey during the last three years
             (referred to as the “New Jersey Class”).

      96.    Kelley, the Pennsylvania Class Representative, brings Count Six against

Alpine under Fed. R. Civ. P. 23 on behalf of the following class of persons:

             All laborers, machine operators and welders employed by
             Alpine in the State of Pennsylvania during the last three
             years (referred to as the “Pennsylvania Class”).

      97.    The claims of the Ohio Class, the New Jersey Class and the Pennsylvania

Class, if certified for class-wide treatment, will be pursued by all similarly situated

persons who do not affirmatively opt-out of the classes.

      98.    The members of the Ohio Class, the New Jersey Class and the

Pennsylvania Class are so numerous that joinder of all members is impracticable; the

exact number of putative class members is unknown at the present time but should be

over one hundred.




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      99.    There are numerous questions of law and fact common to the Ohio Class,

the New Jersey Class and the Pennsylvania Class, including (1) whether Alpine’s

policies and practices described in this complaint are unlawful; (2) whether members of

the Ohio Class, the New Jersey Class and the Pennsylvania Class are paid for all of the

time they work; (3) whether Alpine misclassified members of the Ohio Class, the New

Jersey Class and the Pennsylvania Class as exempt employees; (4) whether Alpine

maintains accurate time and pay records for members of the Ohio Class, the New Jersey

Class and the Pennsylvania Class; (5) whether Alpine failed to pay overtime premiums

to members of the Ohio Class, the New Jersey Class and the Pennsylvania Class and

(6) whether Alpine willfully violated the law.

      100. Kelley’s claims are typical of the claims of the Ohio Class, the New Jersey

Class and the Pennsylvania Class. Alpine paid Kelley and the Ohio Class, the New

Jersey Class and the Pennsylvania Class using the same unlawful practice(s). In other

words, Kelley’s claims and the claims of the Ohio Class, the New Jersey Class and the

Pennsylvania Class arise out of a common course of conduct of Alpine and are based on

the same legal and remedial theories.

      101.   Kelley will fairly and adequately protect the interests of the Ohio Class,

the New Jersey Class and the Pennsylvania Class and has retained competent and

capable attorneys who are experienced trial lawyers with significant experience in



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complex employment litigation (including class actions, collective actions, and

multidistrict litigation). Kelley and his counsel are committed to prosecuting this action

vigorously on behalf of the Ohio Class, the New Jersey Class and the Pennsylvania

Class and have the financial resources to do so. Neither the Kelley nor his counsel have

interests that are contrary to or that conflict with those of the proposed class.

       102. Class certification of the Ohio Class, the New Jersey Class and the

Pennsylvania Class is appropriate under Fed. R. Civ. P. 23 because questions of law

and fact common to the putative class members predominate over any questions

affecting only individual members of the class. Adjudication of these common issues

in a single action has important and desirable advantages of judicial economy.

Moreover, there are no unusual difficulties likely to be encountered in the management

of this case as a class action.

       103. The class action mechanism is superior to any alternatives that may exist

for the fair and efficient adjudication of these claims. Proceeding as a class action would

permit the large number of injured parties to prosecute their common claims in a single

forum simultaneously, efficiently, and without unnecessary duplication of evidence,

effort and judicial resources. A class action is the only practical way to avoid the

potentially inconsistent results that numerous individual trials are likely to generate.

Moreover, class treatment is the only realistic means by which the Ohio Class, the New



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Jersey Class and the Pennsylvania Class can effectively litigate against a large, well-

represented corporate defendant like Alpine. In the absence of a class action, Alpine

would be unjustly enriched because the company would be able to retain the benefits

and fruits of the numerous violations of federal and state law. Numerous individual

actions would also place an enormous burden on the courts as they will be forced to take

duplicative evidence and decide the same issues relating to Alpine’s conduct over and

over again.

      104. Alpine has acted or refused to act on grounds generally applicable to the

Ohio Class, the New Jersey Class and the Pennsylvania Class, thereby making final

injunctive relief or corresponding declaratory relief appropriate with respect to each

class as a whole. Prosecution of separate actions by members of the Ohio Class, the

New Jersey Class and the Pennsylvania Class would create the risk of inconsistent or

varying adjudications with respect to individual members of the Ohio Class that would

establish incompatible standards of conduct for Alpine.

                                      XII. Prayer

      105.    Kelley on behalf of himself and other similarly situated employees under

29 U.S.C. § 216(b) and the Ohio Class, the New Jersey Class and the Pennsylvania

Class under Fed. R. Civ. P. 23, prays for the following relief:

              a. an order allowing this action to proceed as a collective action under 29
                 U.S.C § 216(b);


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       b. an order certifying the Ohio Class under Fed. R. Civ. P. 23 and
          appointing Kelley as representative of the Ohio Class;

       c. an order certifying the New Jersey Class under Fed. R. Civ. P. 23 and
          appointing Kelley as representative of the New Jersey Class;

       d. an order certifying the Pennsylvania Class under Fed. R. Civ. P. 23
          and appointing Kelley as representative of the Pennsylvania Class;

       e. a service award for any class representative(s);

       f. an order appointing MOORE & ASSOCIATES as class counsel;

       g. a declaration that Alpine is financially responsible for notifying all
          members of the Ohio Class, the New Jersey Class and the Pennsylvania
          Class of its alleged violation of wage and hour laws;

       h. a declaration that Alpine violated the OMFWSA, the OPPA, the
          NJWHL, the PMWA and the PWPCL;

       i. injunctive relief;

       j. judgment awarding Kelley and the other laborers, machine operators
          and welders all unpaid overtime compensation, liquidated damages and
          penalties, attorneys’ fees and costs;

       k. prejudgment interest at the applicable rate, if available;

       l. postjudgment interest at the applicable rate, if available;

       m. all such other and further relief to which Kelley and the other laborers,
          machine operators and welders may show themselves to be justly
          entitled.




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                                             Respectfully Submitted,

                                             MOORE & ASSOCIATES

                                             By:
                                                   Melissa Moore
                                                   State Bar No. 24013189
                                                   Federal Id. No. 25122
                                                   Curt Hesse
                                                   State Bar No. 24065414
                                                   Federal Id. No. 968465
                                                   Lyric Centre
                                                   440 Louisiana Street, Suite 675
                                                   Houston, Texas 77002
                                                   Telephone: (713) 222-6775
                                                   Facsimile: (713) 222-6739

                                             ATTORNEYS FOR PLAINTIFF
                                             BEAU KELLEY
Of Counsel:

Bridget Davidson
State Bar No. 24096858
Federal Id. No. 3005005
Moore & Associates
440 Louisiana Street, Suite 675
Houston, Texas 77002
Telephone: (713) 222-6775
Facsimile: (713) 222-6739




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